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8
                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
10

11   FEDERAL TRADE COMMISSION,

12                 Plaintiff,
            v.
13                                                     Case No. 3:23-CV-01710-AMO
     INTERCONTINENTAL EXCHANGE, INC.
14                                                     PLAINTIFF FEDERAL TRADE
     and                                               COMMISSION’S RESPONSE TO
15                                                     DEFENDANTS’ SUBMISSION
     BLACK KNIGHT, INC.,                               ADDRESSING THE COURT’S
16                                                     AUTHORITY
                   Defendants.
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     PLAINTIFF’S RESPONSE TO DEFENDANTS’ SUBMISSION ADDRESSING COURT’S AUTHORITY
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1           The Federal Trade Commission (“FTC”) respectfully submits this filing in response to

2    Defendants’ submission regarding “the Court’s authority to supersede and/or stay administrative

3    proceedings.” Dkts. 161, 164. We first note that this afternoon, the Commission granted the

4    parties’ joint request for a continuance of the administrative evidentiary hearing to September 25,

5    2023. See Exhibit A. Accordingly, Defendants’ suggestion that a stay is warranted to prevent

6    overlapping judicial and administrative proceedings (Dkt. 161 at 3-4) is now moot.

7           Nevertheless, the FTC wishes to correct several misstatements of law in Defendants’

8    submission:

9           1. Commission rules set forth how and when the start date of the administrative

10   evidentiary hearing can be postponed, and that is a matter within the Commission’s purview.

11   Congress intended the Commission, as an independent tribunal with “substantive expertise,” to

12   serve as “a uniquely effective vehicle for the development of antitrust law in complex settings in

13   which the agency’s expertise [could] make a measurable difference.” 74 Fed. Reg. 1803, 1805

14   (Jan. 13, 2009) (cleaned up). With Congress’s authorization (see 15 U.S.C. § 46(g)), the

15   Commission has promulgated its own rules to govern Commission adjudicative proceedings, 16

16   C.F.R. §§ 3.1 et seq. (“FTC Rules”).

17          As for the timing of the administrative evidentiary hearing, the FTC Rules provide that

18   the Commission itself, “upon a showing of good cause, may order a later date for the evidentiary

19   hearing to commence.”1 16 C.F.R. § 3.41(b). The Commission now has acted pursuant to that

20   provision, granting the parties’ requested continuance of the administrative hearing through

21   September 25, 2023. That action is consistent with the wide latitude agencies have to “manage

22   their own dockets.” Calif. Trout v. FERC, 572 F.3d 1003, 1007 (9th Cir. 2009).

23          2. In their submission, Defendants argued that the FTC’s Rules of Practice and the All

24   Writs Act would have authorized the Court to stay the administrative proceeding, pending the

25   Court’s upcoming Section 13(b) preliminary injunction hearing. Dkt. 161 (“Br.”). Those claims

26   are unfounded.

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28    The Administrative Law Judge, who presides over the evidentiary hearing, has authority to
     extend deadlines “other than the date of the evidentiary hearing.” 16 C.F.R. § 3.21(c)(2).

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1            a. As an initial matter, an order staying the administrative hearing would be a preliminary

2    injunction against the Commission, and, as such, would have to comply with both Federal Rule

3    of Civil Procedure 65 and the established preliminary injunction standard. See, e.g., 33 Federal

4    Practice & Procedure (Wright & Miller) § 8386 (Apr. 2023 update). The movant would need to

5    “establish that [it] is likely to succeed on the merits, that [it] is likely to suffer irreparable harm in

6    the absence of preliminary relief, that the balance of equities tips in [its] favor, and that

7    an injunction is in the public interest.” Winter v. Natural Resources Defense Council, 555 U.S. 7,

8    20 (2008); Alliance For The Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011).

9    Defendants have neither moved for a preliminary injunction nor addressed the relevant factors

10   for granting one. There thus is no basis for the Court to stay the administrative proceedings.

11           b. Defendants rely on the All Writs Act (Br. 1-2), but that statute does not permit a court

12   to enjoin administrative proceedings when, as here, the traditional legal standards for an

13   injunction are not satisfied and the Court’s jurisdiction is not imperiled. The All Writs Act

14   authorizes federal courts to “issue all writs necessary or appropriate in aid of their respective

15   jurisdictions and agreeable to the usages and principles of law.” 28 U.S.C. § 1651. This permits

16   orders “to effectuate and prevent the frustration of orders [a court] has previously issued in its

17   exercise of jurisdiction otherwise obtained.” United States v. New York Tel. Co., 434 U.S. 159,

18   172 (1977). Orders under the Act generally must be necessary to the integrity or jurisdiction of a

19   court proceeding. See, e.g., National Organization for Reform of Marijuana Laws v. Mullen, 828

20   F.2d 536, 544 (9th Cir. 1987). And “in the context of ongoing agency proceedings,” judicial

21   power under the Act “is narrowly circumscribed” and “properly invoked only in extreme or

22   extraordinary circumstances warranting disruption of the administrative process.” Clark v.

23   Busey, 959 F.2d 808, 813-814 (9th Cir. 1992).

24           The All Writs Act is inapposite here. For starters, “where the relief sought is in essence a

25   preliminary injunction, the All Writs Act is not available because other, adequate remedies at law

26   exist, namely Fed. R. Civ. P. 65, which provides for temporary restraining orders and

27   preliminary injunctions.” Doe #1 v. Trump, 458 F. Supp. 3d 1220, 1223-24 (D. Or. 2020)

28   (quoting Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1123, 1129 (11th Cir. 2005). Again,


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1    Defendants have not moved for such relief, nor could they show the requisite factors are met.

2            All Writs Act relief is not appropriate when, as here, no previous judgment or prior court

3    order is at issue, and there is no threat to the Court’s jurisdiction or integrity. Regardless of when

4    the Commission evidentiary hearing were to begin, the Court is plainly able to exercise its

5    jurisdiction and conduct these proceedings, in which the FTC merely seeks a preliminary

6    injunction preserving the status quo—and not a determination on the merits—while Commission

7    adjudicates the legality of the proposed merger in the administrative court. 15 U.S.C. § 53(b);

8    FTC v. Warner Commc’ns, Inc., 742 F.2d 1156, 1162 (9th Cir. 1984) (FTC meets this burden if

9    “raise[s] questions going to the merits so serious, substantial, difficult and doubtful as to make

10   them fair ground for thorough investigation, study, deliberation and determination by the FTC in

11   the first instance and ultimately by the Court of Appeals”); see also FTC v. Food Town Stores,

12   Inc., 539 F.2d 1339, 1342 (4th Cir. 1976) (“The district court is not authorized to determine

13   whether the antitrust laws have been or are about to be violated. That adjudicatory function is

14   vested in the FTC in the first instance.”). The issues in the Section 13(b) case would be fully

15   within the Court’s jurisdiction to decide even if these 13(b) proceedings overlapped to some

16   extent with the administrative evidentiary hearing (which they do not, given the recently granted

17   continuance through September 25, 2023). Indeed, the statutory regime contemplates the two

18   proceedings happening in tandem. See 15 U.S.C. § 53(b); Warner, 742 F.2d at 1164.

19           Defendants’ cited cases confirm that All Writs Act relief is inapplicable here. This case is

20   unlike California v. M&P Investments, 46 F. App’x 876 (9th Cir. 2002), in which the Ninth

21   Circuit found that a later-filed administrative proceeding “would impede [the district court’s]

22   ability to exercise jurisdiction over the issues in the federal suit.” Id. at 878. Nor can Defendants

23   find support in SEC v. G.C. George Securities, Inc., 637 F.2d 685 (9th Cir. 1981), where the

24   Ninth Circuit recognized that the All Writs Act could be used “to enjoin a party from attempting

25   to relitigate” the same cause of action that the parties settled in an earlier court case.2 Id. at 688.

26   Nothing akin to those circumstances exists here. And the All Writs Act is not available merely

27   2
       George did not hold that a stay would have been appropriate, but merely that the court had
28   jurisdiction to consider the question. 637 F.2d at 687 (noting that “this appeal does not present
     the question of whether the district court should have enjoined the administrative proceeding”).

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1    because the parties face a heavy workload due to parallel judicial and administrative proceedings

2    (Br. 2-3). See Perez v. Barr, 957 F.3d 958, 967 (9th Cir. 2020).

3           c. There is likewise no merit to Defendants’ claim that FTC Rules authorize the Court to

4    stay the administrative proceeding. Br. 1-2. FTC Rules govern procedure in Commission

5    proceedings; they do not purport to limit or expand a district court’s powers. See 16 C.F.R. § 3.1

6    (noting that the “rules in this part govern procedure in formal adjudicative proceedings”);

7    Kokkonen v. Guardian Life Ins. of Am., 511 U.S.375, 377 (1994) (federal courts “possess only

8    that power authorized by Constitution and statute”) (cleaned up). In any event, Defendants

9    misinterpret both the FTC Rules they invoke.

10          Rule 3.1 governs which administrative matters take “precedence” before the Commission;

11   it does not suggest that the district court Section 13(b) proceeding supersedes the administrative

12   proceeding. 16 C.F.R. § 3.1 (referring to scheduling conflicts “between a proceeding in which

13   the Commission also has sought” Section 13(b) relief “and another proceeding”) (emphasis

14   added). Rule 3.1 was intended to “substantially expedite …administrative cases where the

15   Commission is also seeking preliminary injunctive relief from a federal court under Section

16   13(b).” Rules of Practice, 74 Fed. Reg. 20205 (May 1, 2009) (emphases added),

17   https://www.federalregister.gov/ documents/ 2009/05/01/E9-9972/rules-of-practice. As the

18   Commission explained in its order granting the continuance, Rule 3.1 is “inapplicable” here

19   because it “pertains not to a scheduling conflict between a federal court action and an

20   administrative proceeding but to a scheduling conflict between two different administrative

21   proceedings where one of the proceedings also has a related preliminary injunction court action

22   and the other does not.” See Exhibit A at 2 n.1.

23          Defendants similarly misconstrue Rule 3.41(f). That rule—which is part of the

24   Commission’s “[g]eneral hearing rules” and not limited to merger cases involving Section 13(b)

25   relief—simply contemplates that a “court of competent jurisdiction” may order a stay in

26   appropriate circumstances. 16 C.F.R. § 3.41(f). But the rule does not supplant the usual

27   requirements for injunctions—including, as noted, the need for a movant seeking a preliminary

28   injunction to show a likelihood of success and irreparable harm, among other factors.


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2           For all these reasons, a judicial stay of the administrative proceedings would not be

3    appropriate here. In any event, because the Commission now has continued the administrative

4    evidentiary hearing through September 25, 2023, Defendants’ arguments that the Court would

5    have authority to stay those proceedings are moot. The FTC respectfully requests that the Court

6    and the parties proceed with the Section 13(b) preliminary injunction hearing as planned.

7    Dated: June 28, 2023                         Respectfully submitted,
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